     Case 1:13-cv-01104-RHB ECF No. 17 filed 07/14/14 PageID.219 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

DAVID MOODY,

              Plaintiff,
                                                           File No. 1:13-CV-1104
v.
                                                           HON. ROBERT HOLMES BELL
CITIMORTGAGE, INC. and
TROTT & TROTT, P.C.,

              Defendants.
                                                  /

                                           ORDER

       In accordance with the Opinion issued this date,

       IT IS HEREBY ORDERED that Defendant Trott & Trott’s Motion to Dismiss (ECF No.

7) is GRANTED.

       IT IS FURTHER ORDERED that Defendant CitiMortgage, Inc.’s Motion to Dismiss (ECF

No. 11) is GRANTED.

       IT IS FURTHER ORDERED that Defendant CitiMortgage, Inc.’s Motion to Cite New

Authority (ECF No. 15) is DENIED as MOOT.

       IT IS FURTHER ORDERED that Plaintiff’s Complaint (ECF No. 1) is DISMISSED

WITH PREJUDICE.



Dated: July 14, 2014                                  /s/ Robert Holmes Bell
                                                      ROBERT HOLMES BELL
                                                      UNITED STATES DISTRICT JUDGE
